                      Case 2:22-mj-00079-DM Document 12 Filed 07/13/22 Page 1 of 3
AO 472 (Rev. 09/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Eastern District of Louisiana

                   United States of America                             )
                              v.                                        )
                                                                        )     Case No. 22- 79 MAG
                    MORRIS SUMMERS                                      )
                              Defendant                                 )

                                        ORDER OF DETENTION PENDING TRIAL
                                                       Part I - Eligibility for Detention

      Upon the

              D Motion of the Government attorney pursuant to 18 U.S.C. § 3142(t)(I), or
              D Motion of the Government or Court's own motion pursuant to 18 U.S.C. § 3142(t)(2),
the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings of fact
and conclusions of law, as required by 18 U.S.C. § 3 I 42(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under§ 3142(e)

  DA.    Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
          D (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(t)( I):
                  D (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                   § 2332b(g)(5)(8) for which a maximum term of imprisonment of IO years or more is prescribed; or
               D (b) an offense for which the maximum sentence is life imprisonment or death; or
               D (c) an offense for which a maximum term of imprisonment of IO years or more is prescribed in the
                   Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                   (21 U.S.C. §§ 951-971 ), or Chapter 705 of Title 46, U.S.C. (46 U .S.C. §§ 7050 I-70508); or
               D (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                   (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                   described in subparagraphs (a) through ( c) of this paragraph if a circumstance giving rise to Federal
                   jurisdiction had existed, or a combination of such offenses; or
               D (e) any felony that is not otherwise a crime of violence but involves:
                   (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921 );
                   (iii) any other dangerous weapon; or (iv) a failure to register under 18 U .S.C. § 2250; and
           D (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
             § 3142(t)( I), or of a State or local offense that would have been such an offense if a circumstance giving rise
             to Federal jurisdiction had existed; and
           D (3) the offense described in paragraph (2) above for which the defendant has been convicted was
             committed while the defendant was on release pending trial for a Federal, State, or local offense; and
           D (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
             defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


                                                                                                                  Page 1 of 3
                     Case 2:22-mj-00079-DM Document 12 Filed 07/13/22 Page 2 of 3
A0472 (Rev. 09/16) Order of Detention Pending Trial

  OB.    Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics,flrearm, other offenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
           D (1) an offense for which a maximum term of imprisonment of IO years or more is prescribed in the
               Controlled Substances Act (21 U .S.C. §§ 801-904 ), the Controlled Substances Import and Export Act (21
               U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
           D (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
           D (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(8) for which a maximum term of imprisonment of IO years
               or more is prescribed;
           D (4) an offense under Chapter 77 of Title 18, U .S.C. (18 U.S.C. §§    I 581-1597) for which a maximum term of
               imprisonment of 20 years or more is prescribed; or
           D (5) an offense involving a minor victim under 18 U.S.C. §§  1201, I 591, 2241, 2242, 2244(a)( I), 2245,
               2251, 2251A, 2252(a)(I), 2252(a)(2), 2252(a)(3), 2252A(a)(I), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
               2260,2421,2422,2423,or2425.

  DC.      Conclusions Regarding Applicability of Any Presumption Established Above

           D The defendant has not introduced sufficient evidence to rebut the presumption above.
               OR
           D The defendant has presented evidence sufficient to rebut the presumption, but after considering the
               presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U .S.C. § 3142(g) and the infonnation presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

  ~ y clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
    the safety of any other person and the community.

  D By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
      the defendant's appearance as required.

           n to any findings made on the record at the hearing, the reasons for detention include the following:

           Weight of evidence against the defendant is strong
           Subject to lengthy period of incarceration if convicted
             rior criminal history
            articipation in criminal activity while on probation, parole, or supervision
           History of violence or use of weapons
      D    History of alcohol or substance abuse
      D    Lack of stable employment
      D    Lack of stable residence
      D    Lack of financially responsible sureties
      D    Lack of significant community or family ties to this district
      D    Significant family or other ties outside the United States
      D    Lack of legal status in the United States

                                                                                                               Page 2 of 3
                      Case 2:22-mj-00079-DM Document 12 Filed 07/13/22 Page 3 of 3
AO 472 (Rev. 09/16) Order of Detention Pending Trial

       0    Subject to removal or deportation after serving any period of incarceration
       0   Prior failure to appear in court as ordered
       0    Prior attempt(s) to evade law enforcement
       0    Use of alias( es) or false documents
       0   Background information unknown or unverified
       0   Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:


 0     The defendant stipulates to detention with a reservation of the right to re urge should circumstances permit.




                                                 Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General's designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation


in connection with a court proceeding.                ~
                                                            defi!J
with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility must deliver the           to a United States Marshal for the purpose of an appearance



Date         1 . . - }~ -1:l-,                                   ~ t c d States o




                                                                                                                Page 3 of 3
